        Case 1-19-44421-ess           Doc 38       Filed 12/23/19    Entered 12/23/19 10:21:06




UNITED STATES BANKRUPTCY COURT                                      Hearing Date: Dec. 16, 2019
EASTERN DISTRICT OF NEW YORK                                               Time: 9:30 a.m.
--------------------------------------------------------X

In re

HELEN PARDO DE FIGUEROA
a/k/a Flora E. Claros
a/k/a Flora Calderon,                                               Case No. 19-44421-ess

                                   Debtor.                          Chapter 13

--------------------------------------------------------X

                                RESPONSE TO MOTION TO DISMSS

         Helen Pardo de Figueroa, by and through her attorneys Ortiz & Ortiz LLP, here by states

as follows in response to the Ch. 13 Trustee’s Motion to Dismiss:

         1.      The Debtor requests that the Court adjourn the Ch. 13 Trustee’s motion to dismiss

her case. The Court entered an order granting relief from the automatic stay to permit the Debtor

and her primary creditor, her ex-husband, to attempt to address their issues in the state court.

The effective date of the order is February 1st.

         2.      The Debtor has retained separate counsel to address the state court matter. I

respectfully request and adjournment of the motion so that the Debtor can complete her attempt

to resolve her dispute and ascertain whether a reorganization before the Court is viable.

         WHEREFORE, the Debtor requests that the Court adjourn the motion or grant such other

and further relief as deemed just.

Dated: Astoria, New York
       Dec. 13, 2019
                                                                    S/Norma E. Ortiz
                                                                    Norma E. Ortiz
                                                                    Ortiz & Ortiz, L.L.P.
                                                                    32-72 Steinway Street, Ste. 402
                                                                    Astoria, NY 11103
                                                                    Tel. (718) 522-1117
Case 1-19-44421-ess   Doc 38   Filed 12/23/19   Entered 12/23/19 10:21:06
     Case 1-19-44421-ess        Doc 38     Filed 12/23/19   Entered 12/23/19 10:21:06




                            Helen Pardo de Figueroa, Chapter 13
                                        Service List

                                      METHO                                          METHO
             NAME                     D OF                     NAME                  D OF
                                      SERVICE                                        SERVICE
Modesto A. Claros                     Overnite    Usman Farooqui, Esq.               Overnite
10 Burdge Drive                                   The Law Firm of Ryan Walsh &       and Email
Middletown, NJ 07748                              Associates
                                                  76-12 41st Avenue
                                                  Elmhurst, NY 11368
                                                  Email: ryan@rjwesq.net
Astoria Bank                          Overnite    David A. Gallo & Associates, LL    Overnite
One Corporate Drive                               99 Powerhouse Rd.
Suite 360                                         1st Floor
Lake Zurich, IL 60047                             Roslyn Heights, NY 11577

Internal Revenue Service              Overnite    NYS Dept of Tax & Finance          Overnite
Centralized Insolvency Op                         Bankruptcy Section
Post Office Box 7346                              PO Box 5300
Philadelphia, PA 19101-7346                       Albany, NY 12205

Discover Bank                         Overnite    Marianne DeRosa                    Overnight
Discover Products Inc                 and Email   Office of the Chapter 13 Trustee   and Email
PO Box 3025                                       100 Jericho Quadrangle
New Albany, OH 43054-3025                         Ste 127
Email: mrdiscpc@discover.com                      Jericho, NY 11753
                                                  (516) 622-1340
                                                  Email: Derosa@ch13mdr.com
Office of the United States Trustee   Overnight
Eastern District of NY (Brooklyn      and Email
Office)
U.S. Federal Office Building
201 Varick Street, Suite 1006
New York, NY 10014
(212) 510-0500
Rachel.Wolf@usdoj.gov
